IN RE: OIL SPILL by “Deepwater Horizon”

it DIRECT FILING SHORT FORM’

:, \at.; Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
ante -(Giipies of said Order having atso been filed in Civil Actions No. 10-8888 and 10-2771)

MDL 2179 SECTION: J JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or Intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

filed in MDL No. 2179 (10 md 2179}.

Last Name | First Name | Middle Name/Maiden Suffix
Farris Grace

Phone Number E-Mail Address
251-463-7204 __. callbrandy@aol., com

Address City / State / Zip

15924 Chickamauga Ave. Baton Rouge, LA 70817

INDIVIDUAL CLAIM LJ BUSINESS CLAIM

: Business Name

‘Employer Name
Farris Properties

Job Title / Description a : Type of Business
ouana sijsinny yeti tie innit tia _ [Real Estate cee
Address Address
: 15924 Chickamauga Avenue
City / State / Zip City / State / Zip
Baton Rouge, LA 70817
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
2848
ee
Attomey Name Firm Name
Mitchell A. Toups & Richard Coffman Attorneys at Law
Address City / State / Zip
P.O. Box 350 : Beaumont, TX 77704
Phone Number : E-Mail Address
409-838-0101 or 409-833-7700 i matoups@iwattlaw. com; re@cofflaw.com
LL
Claim filed with BP? Yes O NO | Claim Filed with GCCF?: YES [¥] No
If yas, BP Claim No.: it yes, Claimant Identification No.: In Process

Claim Type (Please check all that apply):

| Damage or destruction to real or personal property
Eamings/Profit Loss

|_| Personal InjuryiDeath

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other.

' this form should be filed with the U.5, District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888, While this Direct Filing Short Form is to be filed in CA No, 10-8888, by prior order of the Court, (Rec, Doc, 246, CA, No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in CA. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being

notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
1

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of 2 Plaintiff to file a Plaintiff Profile Form.

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*- - Case 2:10-cv-08888-CJB-JCW Document 79334 Filed 04/20/11 Page 2 of 3

Brief Description:

4. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential’commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

As a direct and/or proximate result of the Deepwater Horizon oil spill, there was a significant

downturn in the real estate industry that, in turn, resulted in a substantial decrease in

gamings.and profits

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

Not Applicable

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

Not Applicable

2

The filing of this Direct Filing Short Form shall also serve in Hew of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims {Bundle B17)

CJ 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

[] 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

oO 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

(4. Commercial business, business owner, operator or worker, including commercial divers, offshore ciffield service, repalr and
supply, real estate agents, and supply companies, or an employee thereof.

(5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater,
(] 6. — Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

C 7 Owner, lessor, or lassee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

CO a. Hotel owner and operator, vacation rental owner and agent, or all those who eam their living fram the tourism industry.
C9. Bank, financial institution, or retail business that suffered losses as a result of the spill.

(] 10. Person who utilizes natural resources for subsistence.
44. Other. Real Estate

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
O01. Boat captain or crew involved in the Vessels of Opportunity program.

Oo 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

C1 3. — Vassel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities,

(4. — Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and Intertidal zones.
oO 5. Resident who lives or works in close proximity to coastal waters.

Os. Other:

Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject t copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form an through Plaintiff Liaison Counsel.

laimant or Attomey Signature

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Date

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The filing of this Direct Filing Short Form shaif also serve in fieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

